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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF AMERICA,             CR. NO. 17-00101 JEK

         Plaintiff,                      MOTION FOR ORDER OF
                                         CONTEMPT AGAINST THE
         v.                              FEDERAL BUREAU OF
                                         INVESTIGATION;
                                         DECLARATION OF COUNSEL;
   ANTHONY T. WILLIAMS,                  EXHIBITS “A” - “E;”
                                         CERTIFICATE OF SERVICE
         Defendant.


      MOTION FOR ORDER OF CONTEMPT AGAINST THE FEDERAL
                  BUREAU OF INVESTIGATION

   Comes now, the Defendant Anthony T. Williams, by and through his

   standby counsel, Lars Robert Isaacson, Esq., and hereby moves this court to

   issue an order for order of contempt as detailed in the attached Declaration

   of Counsel and Exhibits “A” to “E.”
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      Dated: October 29th, 2018



                                        /s/ Lars Isaacson
                                  LARS ROBERT ISAACSON
                                  Standby Attorney for
                                  Defendant Anthony T. Williams
